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                        UNITED STATES DISTRICT COURT FOR THE

                                 EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                          )               CASE NO. 1: 12 CR 00310 AWI DLB
                                                   )
                    Plaintiff,                     )               DETENTION ORDER
                                                   )
            V.                                     )
                                                   )
TRAVIS JOHN DODD,                                  )
                                                   )
                    Defendant.                     )
                                                   )


A.   Order For Detention
     After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform Act, the Court orders
     the above-named defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

B.   Statement Of Reasons For The Detention
     The Court orders the defendant's detention because it finds:
           By a preponderance of the evidence that no condition or combinatio n o f c o nditio ns will reasonably
           assure the appearance of the defendant as required.
     U     By clear and convincing evidence that no condition or combination of conditions will reasonably assure
           the safety of any other person and the community.

C.   Findings Of Fact
     The Court's findings are based on the evidence which was presented in Court and that which was contained in
     the Pretrial Services Report, and includes the following:
     (1) Nature and circumstances of the offense charged.
               U (a) The crime: Impersonating a Federal Officer is a serious crime and carries a maximum penalty
                    of 3 years.
                    (b) The offense is a crime of violence.
                    (c) The offense involves a narcotic drug.
                    (d) The offense involves a large amount of controlled substances, to wit: .
     (2) The weight of the evidence against the defendant is high.
     (3) The history and characteristics of the defendant including:
              (a) General Factors:
                    The defendant appears to have a mental condition which may affect whether the defendant will
                    appear.
                    The defendant has no family ties in the area.
               U The defendant has no steady employment.
               U The defendant has no substantial financial resources.
                    The defendant is not a long time resident of the community.
                    The defendant does not have any significant community ties.
               U Pas t c o nd uct of the defendant: defendant has previously failed to comply with the terms o r
                    probation.
                    The defendant has a history relating to drug abuse.
                    The defendant has a history relating to alcohol abuse.
                    The defendant has a significant prior criminal record.
                    The defendant has a prior record of failure to appear at court proceedings.
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             (b)     Whether the defendant was on probation, parole, or release by a court:
                       At the time of the current arrest, the defendant was on:
                        U Probation.
                             Parole.
                             Release pending trial, sentence, appeal or completion of sentence.
               (c) Other Factors:
                             The defendant is an illegal alien and is subject to deportation.
                             The defendant is a legal alien and will be subject to deportation if convicted.
                             Other: .
     (4)       The nature and seriousness of the danger posed by the defendant's release are as follows: the defendant
               was on probation for a similar offense where he posed as a fireman and possessed a firearm.
     (5)       Rebuttable Presumptions
               In determining that the defend ant s ho uld be detained, the Court also relied on the following rebuttable
     presumption(s) contained in 18 U.S.C. § 3142(e), which the court finds the defendant has not rebutted:
                    a. That no condition or combination o f c ond itio ns will reasonably assure the appearance of the
                       defendant as required and the safety of any other person and the community because the Court
                       finds that the crime involves:
                                (A) A crime of violence; or
                                (B) An offense for which the maximum penalty is life imprisonment or death; or
                                (C) A controlled substance violation which has a maximum penalty of 10 years or more;
                                or
                                (D) A felo ny after the defendant had been convicted of two or more prior offens es
                                described in (A) through (C) above, and the defendant has a prior conviction of one of
                                the crimes mentio ned in (A) through (C) above which is less than five years old and
                                which was committed while the defendant was on pretrial release.
                    b. That no c o nd ition o r c o mb ination of conditions will reasonably assure the appearance of the
                       defendant as required and the s afety o f the community because the Court finds that there is
                       probable cause to believe:
                                (A) That the d efendant has committed a controlled substance violation whic h has a
                                maximum penalty of 10 years or more.
                                (B) That the defendant has committed an o ffens e und er 18 U.S.C. § 924(c) (uses or
                                carries a firearm during and in relation to any crime of violence, includ ing a crime of
                                violence, whic h p ro vides for an enhanced punishment if committed by the use of a
                                deadly or dangerous weapon or device).
                                (C) That the defendant has committed an offense after April 30, 2003, involving a minor
                                victim under sections 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251, 2251A,
                                2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3),
                                2252A(a)(4), 2260, 2421, 2422, 2423, or 2425 of Title 18.
D.   Additional Directives
               Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
               The defendant be committed to the custody of the Attorney General for confinement in a correc tions
     facility separate, to the extent prac ticab le from persons awaiting or serving sentences or being held in custody
     pending appeal; and
               The defendant be afforded reasonable opportunity for private consultation with his counsel; and
               That, on order of a court of the United States, or on request of an attorney for the Government, the person
     in c harge o f the corrections facility in which the defendant is confined deliver the defendant to a United States
     Marshal for the purpose of an appearance in connection with a court proceeding.

            IT IS SO ORDERED.

          Dated:      September 7, 2012                                 /s/ Dennis L. Beck
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3b142a                                  UNITED STATES MAGISTRATE JUDGE
